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     BENJAMIN B. WAGNER
 1 United States Attorney
   WILLIAM S. WONG
 2 JASON HITT
   Assistant United States Attorneys
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                          CASE NO. S-96-00350-WBS
11
                                  Plaintiff,            GOVERNMENT’S THIRD MOTION FOR
12                                                      EXTENSION OF TIME TO RESPOND
                            v.                          TO ORDER TO SHOW CAUSE
13
     PING SHERRY CHAN,
14
                                  Defendant.
15

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17          The United States of America, through its counsel of record, William S. Wong, Assistant United
18 States Attorney, hereby respectfully requests an extension of time to respond to the Court's Order to

19 Show Cause.

20          The court originally set February 18, 2014 to respond to its order. The government requested an
21 extension of time to April 19, 2014 and then a second extension to June 19, 2014 to file its response.

22 For the reasons previously stated, the government needed additional time to resolve the charges

23 contained in the indictment captioned United States America v. Ping Sherry Chan, CRS 96 – 350 WBS.

24 During this 60 day extension, the government was successful in achieving a resolution of the charges

25 against defendants Mady Chan, Linda Chan, Bao Gin Chen, Lizhen Chen, and Jimmy Leung. The

26 remaining defendants in this case all fall under the category of family members/close friends related to
27 defendant John That Luong. Defendant John That Luong is presently serving a life sentence, plus 65

28
      Government’s Third Motion For Extension of        1
      Time To Response To Order To Show Cause
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             Case 2:96-cr-00350-WBS Document 887 Filed 06/25/14 Page 2 of 3



 1 years in a federal prison on the East Coast. The Stipulation for Consent, Judgment of Forfeiture has

 2 been emailed to John That Luong’s counsel, Dan Koukol, Esq. An offer to resolve the entire case is

 3 forth coming. Because the defendant is housed in a Bureau of Prisons facility on the east coast, this

 4 presents a logistic problem in attempting to resolve the remaining defendants in this case, the

 5 government respectfully requests an additional 90 days to September 19, 2014, to resolve the charges

 6 pending against the remaining defendants in this case without having to utilize government resources

 7 and time necessary to adequately respond to the court's inquiry (which will require conducting research

 8 and ordering transcripts of court proceedings that relate to the issue of waiver of speedy trial).

 9          The government believes that with this additional extension, a resolution of the entire money

10 laundering case is a good possibility. Accordingly, the government respectfully requests that it be

11 allowed additional 90 days to September 19, 2014 to file its response to the Court’s Order to Show

12 Cause.

13
                                                              BENJAMIN B. WAGNER
14 Dated: June 19, 2014                                       United States Attorney
15
                                                              /s/ William S. Wong
16                                                            WILIAM S. WONG
                                                              Assistant United States Attorney
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      Government’s Third Motion For Extension of          2
      Time To Response To Order To Show Cause
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              Case 2:96-cr-00350-WBS Document 887 Filed 06/25/14 Page 3 of 3



 1 BENJAMIN B. WAGNER

 2 United States Attorney
     WILLIAM S. WONG
 3 JASON HITT
     Assistant United States Attorneys
 4 501 I Street, Suite 10-100

 5 Sacramento, CA 95814
     Telephone: (916) 554-2700
 6 Facsimile: (916) 554-2900

 7

 8 Attorneys for Plaintiff
     United States of America
 9

10                                   IN THE UNITED STATES DISTRICT COURT

11                                       EASTERN DISTRICT OF CALIFORNIA

12
     UNITED STATES OF AMERICA,                             CASE NO. S-96-00350-WBS
13

14                                   Plaintiff,            ORDER GRANTING GOVERNMENT’S THIRD
                                                           REQUEST FOR EXTENSION OF TIME TO RESPOND
15                              v.                         TO COURT’S ORDER TO SHOW CAUSE
16   PING SHERRY CHAN,

17                                   Defendant.
18

19

20           Good cause having been shown, IT IS HEREBY ORDERED that the Government's request for an
21 extension of time to respond to the Court’s Order to Show Cause IS GRANTED. The government shall file its

22 response no later than September 19, 2014. The court does not intend to grant any further extensions.

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24           Dated: June 24, 2014
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28
       Government’s Third Motion For Extension of           3
       Time To Response To Order To Show Cause
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